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       Official Committee of Equity Security Holders
  7

  8
                                      UNITED STATES BANKRUPTCY COURT
  9
                                       CENTRAL DISTRICT OF CALIFORNIA
 10
                                        SAN FERNANDO VALLEY DIVISION
 11
      In re:                                                Case No. 1:17-bk-12408-MB
 12                                                         [Jointly administered with
      Ironclad Performance Wear Corporation, a              Case No. 1:17-bk-12409-MB]
 13   California corporation,
                                                            Chapter 11
14                     Debtor and Debtor in Possession.
                                                            DECLARATION OF MICHAEL D.
15                                                          SCHWARZMANN IN SUPPORT OF THE
      In re:                                                APPLICATION OF THE OFFICIAL
16    Ironclad Performance Wear Corporation, a              COMMITTEE OF EQUITY SECURITY
      Nevada Corporation,                                   HOLDERS TO EMPLOY MICHAEL D.
17                                                          SCHWARZMANN AS FINANCIAL
                       Debtor and Debtor in Possession.     ADVISOR NUNC PRO TUNC AS OF
18                                                          OCTOBER 20, 2017

19        Affects:                                          [No Hearing Required Unless Requested
                                                            Pursuant to Local Bankruptcy Rule 2014-1]
20           Both Debtors
21    ri Ironclad Performance Wear
      Corporation, a California corporation
22

23
      z  Ironclad Performance Wear
      Corporation, a Nevada corporation.
24

25                I, Michael D. Schwarzmann, hereby declare under penalty of perjury, as follows:
26                1.        I submit this declaration (the "Declaration") in support of the Application of the
27    Official Committee of Equity Security Holders to Employ Michael D. Schwarzmann as Financial
28



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  1   Advisor Nitric Pro Tunc as of October 20, 2017 (the "Application") 1 filed by the Official

  2   Committee of Equity Security Holders (the "Equity Committee"), pursuant to the terms and

  3   conditions set forth in the Application. I am over the age of 18 and competent to testify as to the

  4   facts set forth herein and will do so if called upon. Except as otherwise noted, I have personal

  5   knowledge of the matters set forth herein.

  6                                         QUALIFICATIONS

  7          2.      I specialize in the delivery of bankruptcy and insolvency services. A copy of my

  8   resume is attached hereto as Exhibit "A". I have worked with distressed companies and their

  9   constituents for the past 20 years. My experience has focused on helping distressed companies

 10   execute positive change by identifying opportunities for improvement, negotiating with

 11   constituents and building consensus. My expertise includes consulting with companies,

 12   bondholder groups, unsecured creditors, and lender groups.

 13          3.      As part of advising in restructuring and bankruptcy matters, I have developed

 14   strategies and worked with counsel in negotiations of key restructuring issues, including solvency

 15   analyses; assisted with forecasting and conducted lender negotiations to navigate through an

 16   existing loan default that resulted in the avoidance of liquidation and retention of value for the

 17   senior lenders; evaluated historical solvency based upon an in-depth analysis of value for assets

 18   and contingent liabilities; monitored cash disbursements and analyzed collateral value for a

 19   partially completed real estate development project; provided bankruptcy strategy for an RV

20    company focused on maximizing value, including advisability of work-in-process, liquidation

21    scenarios, and litigation options; evaluated operational performance, analyzed multi-lender

22    collateral, led negotiations, and analyzed assets and secured claims for a restaurant franchisee

23    with more than 100 locations; prepared diligence materials and negotiated the live-auction sale of

24    a restaurant; participated in management meetings and negotiated with buyers for the sale of an

25    international manufacturing company; developed a detailed report for technology company

26    constituents, including comprehensive analysis of operations, assets, and past transactions; and

27

28     All capitalized terms used but not otherwise defined herein shall have the meanings given to
      them in the Application.

                                                      2
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  1   evaluated a healthcare organization's assets available in case the publicly traded company were to

  2   seek bankruptcy protection.

  3           4.      I earned a Bachelor of Science in Business Administration from the Marshall

  4   School at the University of Southern California, a Master's in Business Administration from the

  5   Anderson School at the University of California, Los Angeles, and a Juris Doctor degree from

  6   Loyola Law School, Los Angeles. I am an attorney licensed to practice before the courts of the

  7   State of California and the Federal Courts for the Southern, Central, Northern, and Eastern

  8   Districts of California.

  9           5.     I am duly qualified to perform all functions that are required in relation to the

 10   proposed employment as financial advisor to the Equity Committee.

 11           6.      Since being engaged by the Equity Committee (subject to Court approval), I have

 12   become well acquainted with the Debtors' financial history, assets and liabilities, and worked

 13   closely with the Equity Committee with respect to the sale of assets and related issues.

 14   Immediately upon being notified by the Equity Committee that I had been selected from among

 15   competing proposed advisors, which selection followed an interview with members of the Equity

 16   Committee, I began working in concert with Steve Rickman of Craig-Hallum Capital Group LLC

 17   to maximize the value received at the auction for the Debtors' assets. This cooperative process

 18   continued throughout the lead up to the auction and throughout the auction itself. Accordingly, I

 19   have developed significant relevant experience regarding the Debtors' estates that will enable me

20    to provide effective and efficient services.

21                                     SERVICES TO BE RENDERED

22           7.      I am prepared to render the following services in these Cases as financial advisor

23    to the Equity Committee (collectively, the "Services"):

24                   (a)     Assist in maximizing the proceeds from the sale of assets, including, but
                             not limited to, working with Debtors' financial advisor (Craig-Hallum
25                           Capital Group, LLC) to develop and implement strategic plans for
                             maximizing value and providing recommendations related to evaluation of
26                           bids;

27                   (b)     Investigation and analysis related to the amount of Radians Wareham
                             Holdings, Inc.'s claim;
28
                     (c)     Assist with review and reconciliation of asserted claims, as needed;

                                                       3
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  1
                     (d)     Assist in evaluating any issues related to a proposed plan of reorganization
  2                          or liquidation, including preparing materials in support thereof, as
                             requested;
  3
                     (e)     Assist in evaluating issues related to potential litigation, as needed; and
  4
                     (1)     Other activities as are requested by the Equity Committee, and agreed to by
  5                          me.

  6                            DISINTERESTEDNESS AND ELIGIBILITY

  7           8.     As set forth above in the Application, I understand the provisions of §§ 330, 331

  8   and 1103, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1(b) and 2016-1, which

  9   require, among other things, Court approval of the Equity Committee's employment of me as

 10   Financial Advisor and of all fees and reimbursement of expenses that I will receive from the

 11   Debtors' estates. I understand that the standards related to § 328 will not apply to any

 12   compensation sought under the Application, and that compensation will be reviewed under the

 13   reasonableness standard pursuant to § 330.

 14           9.     I have conducted an extensive conflict search within my database and have not

 15   identified any actual conflicts and/or connections with any of the parties which would disqualify

 16   me from serving as financial advisor to the Equity Committee.

 17          10.     I have not received and will not receive any lien or any other interest in property of

 18   the Debtors or of a third party to secure payment of its fees, but reserves the right to seek to

 19   surcharge collateral if appropriate. I understand that my compensation in this case will be subject

 20   to the approval of the Bankruptcy Court upon appropriate application and hearing. I intend to

 21   apply to this Court in conformity with the Bankruptcy Code and applicable rules, the guidelines

22    for compensation and reimbursement for fees incurred and costs advanced in this matter and any

23    orders of the Court governing application and allowance of compensation in this Case.

24           11.     At the conclusion of this case, I will file an appropriate application seeking

25    allowance of all fees and costs, regardless of whether interim compensation has been paid.

26           12.     I do not have (a) any prior connection with the Debtors, any creditors of the

27    Debtors or their estates, any equity security holders, or any other party in interest in these Cases,

28    or their respective attorneys or accounts (other than professional connections and relationships),


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  1   or these Cases, (b) I do not hold or represent an interest materially adverse to the estates or of any

  2   class of creditors or equity secured holders, by reason of any direct or indirect relationship to,

  3   connection with, or interest in, the Debtors or an investment banker for any security of the

  4   Debtors, or for any other reason, and (c) I am a disinterested person as that term is defined in 11

  5   U.S.C. § 101(14). As of the Petition Date, I was not a creditor, equity holder or insider of the

  6   estate.

  7             13.   I am not and was not an investment banker for any outstanding security of the

  8   Debtors. I have not been within three (3) years before the petition date an investment banker for a

  9   security of the Debtors, or an attorney for such an investment banker in connection with the offer,

 10   sale or issuance of any security of the Debtors. Within the past three (3) years, I have worked as

 11   a financial advisor in prior chapter 11 cases where Dentons US LLP represented the chapter 11

 12   trustee, but those cases have no relation to these Cases.

 13             14.   I was not, within two (2) years before the petition date, a director, officer or

 14   employee of the Debtors or of any investment banker for any security of the Debtors.

 15             14.   I have not shared or agreed to share such compensation with any other person. I

 16   have no prepetition claims against the Debtors. I have not received a retainer.

 17             15.   I am not related to any judge of the United States Bankruptcy Court for the Central

 18   District of California, the United States Trustee, or to any person employed by the Office of the

 19   United States Trustee.

 20             16.   In addition, if any new material facts or relationships are discovered or arise, I

 21   will provide the Court with a supplemental declaration.

 22             17.   I understand that all advisory fees and related costs incurred by the Equity

 23   Committee on account of services rendered by me as financial advisor in these Cases will be paid

 24   as administrative expense in Ironclad Nevada in accordance with the Bankruptcy Code and

 25   applicable Orders entered in this case.

 26                                             COMPENSATION

27              18.   Subject to the Court's approval and in accordance with the applicable provisions

28    of the Bankruptcy Code, the Bankruptcy Rules, applicable U.S. Trustee guidelines (including


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         1   limitations on reimbursement of travel related fees and expenses), and the Local Rules of this

         2   Court, I will seek payment from Ironclad Nevada for compensation on an hourly basis and

         3   reimbursement of actual and necessary expenses incurred. My customary hourly rate of $425.00

         4   as charged in bankruptcy and non-bankruptcy matters of this type by the professionals assigned to

         5   this engagement are further outlined in the Application. My hourly rate is adjusted annually.

         6          19.     To the best of my knowledge, (i) no commitments have been made or received

         7   with respect to compensation or payment in connection with these cases other than in accordance

         8   with applicable provisions of the Bankruptcy Code and the Bankruptcy Rules, and (ii) I have no

         9   agreement with any other entity to share with such entity any compensation received in
        10   connection with these chapter 11 cases.
t•I
        11          20.     By reason of the foregoing, I believe I am eligible for employment and retention

        12   by the Committee, pursuant to 11 U.S.C. § 1103, with compensation under 11 U.S.C. §§ 330 and

        13   331, and the applicable Bankruptcy Rules and Local Rules.

        14          I hereby state under penalty of perjury, under the laws of the United States of America,

        15   that the foregoing is true and correct to the best of my knowledge, information and/or belief.

        16          Executed this 8th day of November, 2017.

        17                                                                 7
                                                                      MICHAEL D. CHWARZMANN
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